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7/13/15      BPG     Confer D. Lowenthal re: appeal, follow-up re:        0.40        $284.00
                     same (.4).
7/1 3/15     DAL Work on appeal issues with B. Guiney (.4);               0.80        $744.00
                  leave detailed message for E. Lamek re same
                  (.1); review draft appeal brief in Canada (.3).
7/1 4/15     BPG     Confer C. Dent re: open issues, review draft         0.60        $426.00
                     order from Goodmans, confer D. Lowenthal re:
                     appeal, review docket (.6).
7/14/15      CWD Reviewing proposed form of judgment re                   0.40        $252.00
                  Canadian allocation decision, TC B. Guiney re
                  same, e-mails re appeal issues (.2); reviewing
                  Committee motion for leave to appeal
                  Canadian allocation decision (.2).
7/14/15      DAL Attention to appeal, including review of                 2.90      $2,697.00
                   decisions and lengthy tc with E. Lamek, tc J.
                   Heaney, and draft email to J. Tecce (2.5); tc J.
                   Tecce re status of appeals (.2); email J. Heaney
                   re same (.1); email J. Tecce confirmation re
                   appeals (.1).
7/1 5/15     BPG     Attention to e-mails re: status (.2); confer D.      0.80        $568.00
                     Lowenthal re: appeal issues (.2); review revised
                     motion for leave (.2); follow-up re: appeal
                     issues with D. Lowenthal (.2).
7/15/15      CWD Reviewing revised Committee motion for leave             0.20        $126.00
                   to appeal Canadian allocation decision (.2).
7/15/15      DAL     Email S. Miller re appeal and tc re same (.2);       0.60        $558.00
                     work on fee statement (.4).
7/16/15      BPG     Review US Debtors' motion for leave to appeal        1.30        $923.00
                     (.2); prepare for and participate on weekly call,
                     follow-up re: same (.7); review additional
                     pleadings in Canadian Court (.4).
7/16/15      CWD Reviewing Debtors' motion for leave to appeal            1.10        $693.00
                   Canadian allocation decision (.1); reviewing
                  NNSA motion for leave (.1); ; reviewing trade
                  consortium motion for leave (.1); Committee
                  call (.8).




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7/16/15        DAL     Committee call (.8); work on fee statement (.1);      2.40      $2,232.00
                       begin review of motions for leave filed in
                       Canada (.1); review appeal motions filed in
                       Canada (1.1); memo to colleagues (.3).
7/1 7/15       CWD E-mails re noteholder calls (.1).                         0.10         $63.00
7/1 9/15       DAL Review cross-appeal filed by the trade claims             1.30      $1,209.00
                     consortium (.1); review allocation and
                     reconsideration decisions, and appeal papers
                     filed to date re next steps (1.2).
7/20/15        BPG     Confer D. Lowenthal re: appeal, interim               1.20        $852.00
                       distribution, other issues (.5); follow-up re:
                       direct appeal standard (.3); attention to BNY
                       appeal (.1); follow-up D. Lowenthal re:
                       certification issue, follow-up re: same, attention
                       to e-mail re: same (.3)
7/20/15       CWD Reviewing docket (.1); OC D. Lowenthal re                  0.40        $252.00
                   noteholder issues (.2).
7/20/15       DAL TC J. Pultman re appeal issues (.1); conf B.               2.10      $1,953.00
                    Guiney re same (.2); update C. Dent (.2);
                    analyze certification issue, including review of
                    case law (.3); tc M. Riela re certification and
                    appeal issues (.7); email J. Heaney re update
                    (.3); tc J. Tecce re update and follow-up (.3).
7/21/15        BPG     Review and consider stipulation re:                   0.30        $213.00
                       consolidating appeals (.2); attention to e-mails
                       re: same (.1).
7/21/15       CWD Reviewing stipulation re appeals, OC B.                    0.10         $63.00
                   Guiney re same (.1).
7/21/15       DAL Tc E. Lamek re claims administiator issue (.2);            0.30        $279.00
                    review draft appeal consolidation notice and
                    email S. Miller re same (.1).
7/22/15       BPG     Attention to issues and stipulation related to         0.70        $497.00
                      appeal (.2); tc D. Lowenthal re: same (.2);
                      review letter from M. Gottlieb re: same and
                      follow-up (.2); attention to e-mails re: appeal
                      stipulation (.1).




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7/22/15       CWD Emails re mediation and appeal deadlines and             0.20      $126.00
                   related stipulation, reviewing same (.2).
7/22/15      DAL Review email from R. Johnson re mediation                 2.20     $2,046.00
                   stipulation and send same to J. Heaney (.2); tc
                   S. Miller re status of stipulation on appeal
                   deadlines and email J. Heaney re same (.1);
                   leave message for J. Pultman and tc J. Pultman,
                   tc J. Pultman re certification issue, and email J.
                   Heaney re same (.4); review updated stipulation
                   re briefing schedule and email same to J.
                   Heaney (.3); tc B. Guiney re same (.1); email J.
                   Heaney re suggestion for statement to the
                   magistrate (.2); review letter from the Joint
                   Administrators re claims issues, summarize
                   same for J. Heaney, and tc with B. Guiney re
                   same (.7); emails with R. Johnson re statement
                   to magistrate judge (.2).
7/23/15      BPG     Prepare for and participate on weekly call,           1.00      $710.00
                     follow-up re: same (.6); attention to revised
                     stipulation and e-mails re: same (.2); attention
                     to PBGC appeal, research time for appeal (.2).
7/23/15      DAL Review proposed judgment in Canada and .                  1.90     $1,767.00
                   email E. Lamek (.2); emails to J. Heaney and
                   C. Samis re stipulation re appeal deadlines (.2);
                   analyze proposed judgment in Canada (.8);
                   Committee call and follow-up (.6); mediation
                   statement (.1).
7/24/15      BPG     Review certification motion, motion to shorten,       1.30      $923.00
                     follow-up re: same (.6); additional follow-up D.
                     Lowenthal and M. Riela re: same (.2); review
                     corrected motion, update D. Lowenthal re:
                     same (.2); attention to order shortening notice,
                     calendar same, e-mail client re: certification
                     (.3).
7/24/15      CWD E-mails re Monitor's motion, TC D. Lowenthal              0.40      $252.00
                   re same (.2); reviewing docket (.2).
7/24/15      DAL Review Monitor's motion for certification (.2);           0.30      $279.00
                   tc with Monitor's counsel re same (.1).




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7/26/15      BPG     E-mails with D. Lowenthal re: status (.1).            0.10       $71.00
7/26/15      DAL Emails from Akin re certification update (.2).            0.20      $186.00
7/27/15      BPG     E-mails with R. Johnson, review revised               2.00     $1,420.00
                     statement on mediation (.2); reviewing
                     certification motion, consider same, e-mails re:
                     same (.3); review follow-up e-mails from
                     EMEA re: settlement issue, e-mails with D.
                     Lowenthal and C. Dent re: same, tc B. Kahn re:
                     same (.5); review draft of certification
                     objection, review supporting case law and
                     follow-up (1.0).
7/27/15      CWD E-mails re Joint Administrators' letter (.1);             0.30      $189.00
                   reviewing docket (.1); reviewing Committee
                   objection to certification motion (.1).
7/27/15      DAL Review emails from B. Guiney and R. Johnson               0.40      $372.00
                   re certification issue (.1); update F. Godino
                   (.1); emails with B. Guiney and C. Dent re
                   UKPC request to seek clarification of J.
                   Newbould's reasons (.2).
7/28/15      BPG     Reviewing materials for hearing, reviewing            2.10     $1,491.00
                     submission on appeal, follow-up re: logistics
                     for hearing (.6); review revised pleading,
                     follow-up R. Johnson re: same (.4); review
                     letter from Tory's re: clarification of Newbould
                     order (.2); follow-up re: same (.1); review
                     responses and objections to motion to certify
                     (.8).
7/28/15      CWD E-mails re Committee response to certification            0.10       $63.00
                   motion, reviewing docket (.1).
7/28/15      DAL     Review update on certification motions (.2).          0.20      $186.00
7/29/15      BPG     Prepare for, travel to, attend, and return from       8.10     $5,751.00
                     hearing in Delaware on motion to certify,
                     follow-up re: same, update client re: same
                     (8.1).
7/29/15      CWD E-mails re hearing, reviewing docket (.1).                0.10       $63.00




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7/30/15        BPG    Reviewing PBGC issues (1.2), confer C. Dent           2.70       $1,917.00
                      re: same (.2), prepare for and participate on
                      weekly call (.8); update tc D. Lowenthal re:
                      open issues (.5).
7/30/15       CWD TC B. Guiney re Nortel hearing (.2); OC B.                0.40        $252.00
                   Guiney re Committee call (.2).
7/30/15       DAL Tc B. Guiney re hearing on certification motion           0.50        $465.00
                   and related issues (.5).
7/31/15       CWD Reviewing docket (.2); reviewing statement of             0.40        $252.00
                   issues on appeal (.2).

                                                      Total Services       67.60      $53,808.00


               Daniel A Lowenthal          28.60 hours at       $930.00 $26,598.00
               Brian P. Guiney             33.00 hours at       $710.00 $23,430.00
               Craig W. Dent                6.00 hours at       $630.00 $3,780.00


                      Outside Professional Services                          186.00

                                                      Total Expenses                    $186.00


                                                      Total This Invoice              $53.994.00




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                      Patterson Belknap Webb & Tyler UP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 830990
400 Madison Avenue                                                                September 21, 2015
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                August 31, 2015 In Connection With The Following:


8/3/15          BPG       Confer D. Lowenthal re: Nortel appeal and                1.60        $1,136.00
                          other issues (.3); draft notice to holders re:
                          appeal (1.1); review revised statement of issues
                          on appeal and consider same (.2).
8/3/15          CWD       Reviewing docket (.1); OC D. Lowenthal re                0.90          $567.00
                          PBGC issues, follow up re same (.2); reviewing
                          and revising draft notice to holders, OC B.
                          Guiney re same (.5); e-mails re appellee
                          designations (.1).
8/3/15          DAL       Follow up with B. Guiney and C. Dent (.3).               0.30          $279.00
8/4/15          BPG       Attention to e-mails and designation issues (.2);        0.80          $568.00
                          follow-up re: notice to holders, confer R.
                          Johnson re: appeal issues, finalize notice (.3); tc
                          D. Lowenthal and C. Dent re: appeal issues
                          (.3); confer T. Kirklin re: Nortel (.2)
8/4/15          CWD       Reviewing docket (.1); OC B. Guiney re notice            1.50          $945.00
                          to holders, TC D. Lowenthal re same, revising
                          same, follow up re same (1.1); TC D.
                          Lowenthal re appeal issues, follow up re same




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8/4/15      DAL Review multiple appellant designations of               3.90      $3,627.00
                  issues (.9); revise draft notice to holders (1.5);
                  tc J. Tecce re next steps in the appeal and
                  update Law Debenture (.5); emails with E.
                  Lamek re status (.2); review emails between S.
                  Miller and F. Godino re client issue (.2); review
                  status of appeal and go-forward issues with B.
                  Guiney and C. Dent (.3); review emails from C.
                  Armstrong re hearing in Canada (.2).
8/5/15      CWD E-mails re PBGC issues (.1); OC D. Lowenthal             0.20       $126.00
                  re appeal issues (.1).
8/5/15      DAL Work on fee statement (.1).                              0.10        $93.00
8/6/15      BPG     Prepare e-mail to T. Kirklin re: research,           2.50     $1,775.00
                    follow-up re: same (.5); review materials for
                    weekly call and prepare for same (.6); review
                    response to motion for leave and follow-up
                    (.4); participate on weekly call and follow-up
                    (.7); follow-up e-mails re: same (.1); review
                    correspondence re: EMEA claims issue (.2).
8/6/15      CWD Preparing for and participating in Committee             0.80       $504.00
                  call (.7); e-mails re PBGC issues (.1).
8/6/15      DAL Committee call (.6); email J. Heaney re                  3.30     $3,069.00
                  appellee issues (.1); work on fee statement (.3);
                  review multiple letters from counsel for
                  EMEA, the US Debtors, and the UCC re
                  EMEA claims (1.3); review multiple briefs in
                  opposition to the Monitor's motion re
                  interlocutory appeals (1.0).
8/10/15     CWD Reviewing docket (.1).                                   0.10        $63.00
8/11/15     BPG     Attention to e-mails re: Canadian allocation         0.20       $142.00
                    order (.2).
8/11/15     DAL Review letters re revised Judgment in Canada             0.50       $465.00
                  and emails to E. Lamek re same (.2).
8/13/15     BPG     E-mail J. Heaney re: Nortel, review C. Dent          0.20       $142.00
                    summary of UCC call (.2).
8/13/15     CWD Participate in Nortel call, e-mails re same w/D.         0.50       $315.00
                  Lowenthal and B. Guiney (.5).




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8/14/15      CWD   Reviewing Monitor's pleading re interlocutory      0.10          $63.00
                   appeal motion (.1).
8/17/15      BPG   Confer D. Lowenthal re: open issues and            0.40         $284.00
                   follow-up (.2); follow-up T. Kirklin re:
                   research and attention to same (.2)
8/17/15      CWD   Reviewing docket, OC D. Lowenthal and B.           0.10          $63.00
                   Guiney re open issues (.1).
8/17/15      JTK   Analyze transactional documents and                0.60         $351.00
                   correspondence from B. Guiney regarding
                   research.
8/18/15      BPG   Follow-up T. Kirklin re: research (.1).            0.10          $71.00
8/19/15      JTK   Research case law.                                 1.10         $643.50
8/20/15      BPG   Review materials circulated prior to call,         2.00       $1,420.00
                   prepare for and participate on same, follow-up
                   C. Dent re: same (2.0).
8/24/15      BPG   Attention to e-mails related to Canadian appeal    0.30         $213.00
                   (.3).
8/25/15      BPG   Attention to order and e-mails related to          0.10          $71.00
                   District Court mediation (.1).
8/25/15      CWD   Emails re mediation order (.1).                       0.10       $63.00
8/25/15      JTK   Continue to research case law (.8); draft          1.20         $702.00
                   memorandum regarding research on same (.4).
8/26/15      BPG   Review e-mails related to appeal issues,              1.00      $710.00
                   cancellation of hearing and SNMP issues (.5);
                   meet and confer with D. Lowenthal re: open
                   issues and next steps (.5).
8/26/15      DAL   Conf. B. Guiney re upcoming meeting with              0.50      $465.00
                   Magistrate Judge re mediation (.5)
8/26/15      JTK   Continue to research case law (.7); draft             1.00      $585.00
                   memorandum regarding research on same (.3).
8/27/15      BPG   Prepare for and participate on weekly call,           3.00    $2,130.00
                   follow-up re: same (1.5); confer T. Kirklin re:
                   his research, review same and follow-up (1.5).




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8/27/15      DAL Review US Debtors' appeal brief filed in                  2.00      $1,860.00
                   Canada (.5); review US Debtors' brief re
                   EMEA stay motion (.5); Committee call and
                   follow up (1.0).
8/27/15      JTK     Continue to research case law (.6); draft             0.90       $526.50
                     memorandum regarding research on same (.3).
8/28/15      BPG     Attention to e-mail re: mediation, confer D.          1.50      $1,065.00
                     Lowenthal re: same, follow-up re: same (.4);
                     follow-up re: T. Kirklin research (.2); follow-
                     up D. Lowenthal re: appeal issues (.4);
                     attention to proposed mediation protocol and
                     follow-up (.5).
8/28/15      DAL Tc with J. Tecce re mediation conference and              3.90      $3,627.00
                   email J. Heaney re same; attempt tcs and leave
                   messages for A. Qureshi, L. Schweitzer, and A.
                   LeBlanc per discussion with J. Tecce: review
                   prior mediation Order, tc A. Qureshi re status
                   of meet and confer and mediation stipulation,
                   email J. Heaney re same, review draft
                   mediation protocol, email same to S. Miller,
                   follow-up emails with A. Qureshi and S.
                   Miller.
8/28/15      JTK     Emails with B. Guiney re research.                    0.20       $117.00
8/31/15      BPG     Attention to e-mails re: meet and confer (.2).        0.20       $142.00
8/31/15      DAL Tc L. Schweitzer re mediation conference,                 1.40      $1,302.00
                   update colleagues, tc M. Riela re same (.6);
                   email J. Heaney (.3); attention to meet and
                   confer (.5)

                                                    Total Services      39.10       $30,290.00


              Daniel A Lowenthal           15.90 hours at      $930.00 $14,787.00
              Brian P. Guiney              13.90 hours at      $710.00 $9,869.00
              Craig W. Dent                 4.30 hours at      $630.00 $2,709.00
              J. Taylor Kirklin             5.00 hours at      $585.00 $2,925.00




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                     Lexis Electronic Research                               39.02
                     Outside Professional Services                           30.00
                     Seamless                                                28.80
                     Tvl - Meals                                             10.25
                     Tvl. Transportation/Lodging                            185.00

                                                     Total Expenses                    $293.07


                                                     Total This Invoice              $30,583.07




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                        Patterson Belknap Webb & Tyler UP
              1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwicom


Law Debenture Trust Company of New York                                            Invoice No. 833208
400 Madison Avenue                                                                 October 16, 2015
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                   CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                September 30, 2015 In Connection With The Following:


9/1/15            BPG       Review revised mediation protocol (.3);                 3.00        $2,130.00
                            prepare for and participate on meet and confer
                            for mediation (1.2); attention to docket and
                            recently filed pleadings (.4); review further
                            revised protocol and follow-up, confer D.
                            Lowenthal re: same (.6); review proposed NDA
                            from Milbank and follow-up (.5).
9/1/15            DAL       Prepare for mediation meet and confer (.2);             3.60        $3,348.00
                            conference all with counsel for Core Parties re
                            conference with MJ Thynge and update J.
                            Heaney (1.5) review updated draft protocol,
                            send same to J. Heaney and S. Miller, tc J.
                            Pultman with comments re same, and review
                            Standing Order re mediation (1.5); review
                            Milbank proposed NDA (.4).
9/2/15            BPG       Attention to e-mails re: mediation, follow-up           0.60          $426.00
                            D. Lowenthal re: same (.3); attention to e-mails
                            re: calls and mediation (.3).
9/2/ 1 5          DAL       Court conference re mediation including emails          7.50         $6,975.00
                            re possible mediator.
9/3/15            BPG      Prepare for and participate on call re: appeal           3.00        $2,130.00
                           briefing, follow-up D. Lowenthal re: same (.9);
                           review appeal issues chart from Akin, prepare
                           for and participate on weekly call, follow-up re:
                           same (1.1); confer D. Lowenthal re: research
                           issues, follow-up re: same, reviewing case law
                           re: same (1.0).




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9/3/15         DAL   Review and revise updated draft mediation            3.10      $2,883.00
                     protocol, including emails with other
                     appellants' counsel.
9/4/15         BPG   E-mails re: appeal issues, review revised            0.70        $497.00
                     protocol, follow-up re: same (.6); e-mails with
                     D. Lowenthal re: SNMP hearing (.1).
9/4/15         DAL   Review updated mediation protocol and send           0.50        $465.00
                     same to J. Heaney (.3); review emails re
                     appellate briefing schedule (.2).
9/8/15         BPG   Prepare for and monitor SNMP hearing, update         3.50      $2,485.00
                     D. Lowenthal re: same (3.5).
9/8/15         CWD   Reviewing docket (.1).                               0.10         $63.00
9/8/15         DAL   Review final version of mediation proposal and       0.80        $744.00
                     send same to J. Heaney (.4); review email from
                     Monitor's counsel re appellate briefing
                     schedule (.1); update on court hearing from B.
                     Guiney (.3).
9/9/1 5        BPG   Attention to agenda for weekly call (.1).            0.10         $71.00
9/10/15        BPG   Confer D. Lowenthal re: Nortel call and              0.50        $355.00
                     follow-up re: same (.5).
9/10/15        CWD   Reviewing docket (.1); Committee call, OC D.         1.40        $882.00
                     Lowenthal re related issues (1.3).
9/10/15        DAL   Review appellate rules re briefing schedule in       2.00      $1,860.00
                     view of disagreement among parties and
                     Committee call (2.0).
9/11/15        BPG   Discuss appeal issues, follow-up re: same,           0.40        $284.00
                     review C. Dent e-mail re: same (.2); attention
                     to e-mail from D. Boner (.1); follow-up re:
                     same (.1).
9/11/15        CWD   Call re appeal issues, e-mail to D. Lowenthal        0.80        $504.00
                     and B. Guiney re same (.8).
9/14/15        BPG   Review docket (.2).                                  0.20        $142.00




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9/17/15        BPG   Review EMEA decision and Akin summary               1.20        $852.00
                     (.5); prepare for and participate in weekly UCC
                     call, follow-up re: same (.6); update D.
                     Lowenthal re: same (.1).
9/17/15        DAL   Conf. with B. Guiney re update on Committee         0.20        $186.00
                     call (.2).
9/18/15        BPG   Attention to e-mail from M. Fagen (.1).             0.10         $71.00
9/1 8/15       DAL   Work on fee statement (.4), email from US           0.50        $465.00
                     Debtors' counsel re mediation schedule (.1).
9/21/15        BPG   Review appeal brief outline, consider same and      2.20      $1,562.00
                     follow-up (.5); prepare quarterly report (1.5);
                     confer C. Dent re: PBGC issue and follow-up
                     (.1); follow-up re: SNMP hearing (.1).
9/21/15        CWD   OC B. Guiney re PBGC issues (.1); reviewing         0.20        $126.00
                     docket (.1).
9/22/15        BPG   Confer D. Lowenthal and C. Dent re: open            0.50        $355.00
                     issues and follow-up (.3); attention to SNMP
                     issue (.1); attention to docket (.1).
9/22/15        CWD   Reviewing docket (.1); OC D. Lowenthal and          0.30        $189.00
                     B. Guiney re appeal issues (.2).
9/22/15        DAL   Confer with B. Guiney and C. Dent re appellate      1.30      $1,209.00
                     briefing issues (.2); finalize fee statement and
                     send to Law Debenture (.1); draft and send
                     quarterly client update (1.0).
9/24/15        BPG   Confer D. Lowenthal re: weekly call (.2).           0.20        $142.00
9/24/15        CWD   Committee call, OC D. Lowenthal re mediation        1.20        $756.00
                     (1.2).
9/24/15        DAL   Review appellate brief outline and issues and       3.20      $2,976.00
                     statements on appeal (1.2); Committee call and
                     related follow-up re mediation (1.0); analyze
                     PBGC issues and cases (.9); tc T. Kirklin re
                     same (.1).




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                                                                         October 16, 2015
                                                                         L0353-000007



9/25/15       CWD Reviewing Magistrate Judge Order re                     0.10            $63.00
                   mediation (.1).
9/25/15      DAL Review MJ Thynge's recommendation re                     0.20        $186.00
                   mediation and send to J. Heaney (.2).
9/30/15       BPG    Tc D. Lowenthal re: call with J. Tecce, follow-      1.00        $710.00
                     up re: same (.6); attention to follow-up e-mails
                     (.1); review letter from D. Abbott to Judge
                     Stark and follow-up re: same (.3).
9/30/15      CWD TC D. Lowenthal re holder issues.                        0.50        $315.00
9/30/15      DAL Tc with J. Tecce (.3); tc E. Lamek re appeal             2.80       $2,604.00
                   issues and timing (.4); emails with D. Botter
                   (.2); review US Debtors' letter to J. Stark re
                   appellate briefing (.4); review Agenda (.1);
                   review MJ recommendation (.1); review appeal
                   issues (1.3).

                                                    Total Services       47.50      $39,011.00


               Daniel A Lowenthal         25.70 hours at       $930.00 $23,901.00
               Brian P. Guiney            17.20 hours at       $710.00 $12,212.00
               Craig W. Dent               4.60 hours at       $630.00 $2,898.00


                     Company Cars                                          111.79
                     Tvl - Meals                                            17.87
                     Tvl. Transportation/Lodging                           212.00

                                                    Total Expenses                    $341.66


                                                    Total This Invoice               39




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                    Patterson Belknap Webb & Tyler LLP
          1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000   fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 835001
400 Madison Avenue                                                                November 16, 2015
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                            For Professional Services Rendered For The Period Ending
                              October 31, 2015 In Connection With The Following:


10/1/15       BPG       Confer D. Lowenthal re: open matters and                  0.50           $355.00
                        follow-up re: same (.5).
10/1/15       CWD       Reviewing docket, e-mails re appeal letters               0.30           $189.00
                        (.2); OC D. Lowenthal re Committee call (.1).
10/1/15       DAL       Tc J. Tecce re recovery scenarios (.5); analysis          4.70         $4,371.00
                        re same (1.0); memo to J. Heaney (1.0);
                        Committee call (1.1); leave detailed message
                        for D. Botter (.1); review US Debtors' letter to
                        J. Stark (.5); update B. Guiney (.5).
10/2/15       BPG       Review letter to D. Ct., follow-up re: same (.3);         0.80           $568.00
                        review additional letter, e-mails re: same (.2);
                        confer D. Lowenthal re: same and follow-up
                        (.3).
10/2/15       CWD       Emails re letters to J. Stark re appeals (.1).            0.10            $63.00
10/2/15       DAL       Review letters to J. Stark re briefing (.2);              2.20         $2,046.00
                        review Monitor's letter to J. Stark, review
                        CCC's letter to J. Stark, draft response to
                        Monitor's letter, conf. B. Guiney re same,
                        emails with S. Miller re same; email same to J.
                        Heaney (2.0).
10/5/15       BPG       Confer D. Lowenthal re: letter from K.                    0.60           $426.00
                        Murphy, follow-up re: same, consider same and
                        attention to e-mails re: same (.5); attention to e-
                        mails re: mediation (.1).
10/5/15       CWD       E-mails re Nortel mediation (.1).                         0.10            $63.00
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10/5/15    DAL     Attention to letter to J. Stark, including review    3.80      $3,534.00
                   of same, tc with F. Warder, tc with S. Miller
                   and email to J. Heaney re same (2.0); tc D.
                   Botter re appeal issues (.2); email from J.
                   Bromley re mediation detail, email to Cleary re
                   same, and email to J. Heaney re same (.5);
                   review request from mediator re statements and
                   start outlining memorandum (1.1).
10/6/15    BPG     Confer D. Lowenthal re: in-person meeting and        1.10        $781.00
                   other open issues (.2); additional follow-up re:
                   same and attention to e-mails (.2); review BRG
                   materials for in-person meeting (.7).
10/6/15    CWD E-mails re Committee meeting, reviewing                  0.60        $378.00
                 decks re same (.6).
10/7/15    BPG Follow-up re: BRG deck (.2); OC D.                       1.20        $852.00
                 Lowenthal re: UCC meeting (with C. Dent, for
                 part) (1.0).
10/7/15    CWD Emails re Committee meeting (.1); reviewing              0.50        $315.00
                docket (.1); OC D. Lowenthal and B. Guiney re
                Committee meeting, claims issues and
                mediation (.3).
10/7/15   DAL Review claims analysis and draft POC (1.1); tc            6.60      $6,138.00
                J. Tecce and holders (.2); prepare for and attend
                meeting at Akin and related follow-up (5.0);
                draft letter to US Debtors' counsel (.3).
10/8/15   BPG     Review Tory's draft claim in Canada, review           3.50      $2,485.00
                  B. Kahn e-mail re: same and blackline (1.5); tc
                  D. Lowenthal re: conversations with holders'
                  counsel, review e-mails re: same, follow-up re:
                  same (.5); work on submission to mediator
                  (1.5).
10/8/15   CWD Reviewing revised supplemental Canadian                   0.10         $63.00
               POC, e-mails re claim/noteholder issues (.1).
10/8/15   DAL Tc J. Tecce re meeting with Committee                     1.70      $1,581.00
                professionals and mediation (.5); memo to J.
                Heaney (1.0); tc B. Guiney re case issues (.2).
10/9/15   BPG     Confer D. Lowenthal re: submission to                 4.40      $3,124.00
                  mediator (.3); continue working on same (4.1).
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10/9/15     CWD TC B. Guiney re NNCC indenture issues,                   0.10        $63.00
                 follow up re same (.1).
10/9/15     DAL     Mediation preparation (.3).                          0.30       $279.00
10/12/15    BPG     Follow-up D. Lowenthal re: mediation                 1.50     $1,065.00
                    statement, confer same re: conversation with J.
                    Tecce, follow-up (.5); review draft mediation
                    submission from Akin Gump, review BRG
                    presentation for UCC call, follow-up re: same
                    (1.0).
10/12/15    CWD Reviewing docket, OC D. Lowenthal re holder              0.20       $126.00
                 issues and mediation briefs (.2).
10/12/15    DAL Draft mediation statement; tc J. Tecce re same;          4.00     $3,720.00
                  email Akin re same (4.0).
10/13/15    BPG     Confer D. Lowenthal re: open issues and next         4.60     $3,266.00
                    steps related to mediation and claims issues
                    (.5); reviewing D. Lowenthal revisions to 5-
                    page mediation submission, confer J. Heaney
                    re: same, confer J. Heaney re: open issues and
                    prepare for UCC call (1.0); participate on same
                    and follow-up (1.0); revise UCC mediation
                    submission, confer D. Lowenthal re: same (.5);
                    review other parties' mediation submissions,
                    follow-up re: revisions to UCC mediation
                    submission (1.0); additional revisions to and e-
                    mails re: UCC mediation statement (.3); review
                    draft UCC public mediation statement, follow-
                    up re: same (.3).
10/13/15    CWD Reviewing draft Committee mediation                      0.20       $126.00
                 statement, e-mails re same w/D. Lowenthal
                 (.1); reviewing holders' outline for mediation
                 statement (.1).
10/13/15    DAL     Attention to mediation issues (.6); tc J. Heaney     3.10     $2,883.00
                    re same (.2); Committee call (.2); revise
                    mediation statements and tc J. Tecce re same
                    (1.5); email changes to Akin (.2); tc F. Hodara
                    and B. Kahn re same (.2); further analysis re
                    same (.2).
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10/14/15    BPG     Review Quinn draft, confer D. Lowenthal re:          6.10      $4,331.00
                    same, follow-up re: same, revise Law Deb
                    submission (1.5); multiple TCs and e-mails re:
                    UCC and Law Debenture submissions, revising
                    same, consider same and follow-up (3.0);
                    participate on committee call (.5); follow-up re:
                    open issues, finalize mediation submission
                    (1.1).
10/14/15    CWD Reviewing holders' revised outline for                   0.40        $252.00
                 mediation statement (.1); reviewing docket, e-
                 mail to managing clerk re hearing dates (.1); e-
                 mails re mediation statements, OC D.
                 Lowenthal and B. Guiney re same (.1).
10/14/15    DAL Work on mediation statement; conf B. Guiney              8.00      $7,440.00
                 re same; review Akin's, Milbank's and Cleary's
                 draft statements; emails and tc with J. Tecce;
                 emails and tcs with J. Heaney; emails and tcs
                 with Akin and M. Riela (7.5); begin review of
                  12 mediation statements (.5).
10/15/15    BPG     Review mediation submissions from all core           2.40      $1,704.00
                    parties (1.8); review decision on PPI in Canada
                    (.6).
10/16/15    BPG     Review confidential five-pager position papers       1.60      $1,136.00
                    of Debtors and ad hoc group and follow-up
                    (.4); participate on UCC call and follow-up
                    (1.0); follow-up D. Lowenthal re: open issues
                    (.2).
10/16/15    DAL     Review letters to mediator and J. Stark's ruling     2.20      $2,046.00
                    on appellate briefing (2.0); work on fee
                    statement (.2).
10/21/15    BPG     Review proposed order, follow-up, attention to       0.40        $284.00
                    e-mails re: trade claim consortium, follow-up
                    (.4).
10/21/15    DAL     Review drafts of stipulation re appellate            0.20        $186.00
                    briefing (.2).
10/22/15    BPG     Review materials circulated in advance of            1.20        $852.00
                    committee call (.9); confer D. Lowenthal re:
                    call and open issues, mediation (.3) (4.9).
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10/22/15    DAL     Review letters to J. Stark and Farnan, and            2.10       $1,953.00
                    Committee mediation draft (2.1).
10/23/15    DAL Review Debtors' draft motion to consolidate               0.20        $186.00
                  appeals and email J. Heaney re same (.2).
10/26/15    BPG     Prepare for (.3); and travel to, attend and return    2.70       $1,917.00
                    from in-person Committee meeting, follow-up
                    re: same, review revised settlement worksheet
                    (2.4).
10/26/15    DAL     Prepare for mediation, including meeting at           3.50       $3,255.00
                    Akin (3.5).
10/27/15    BPG     Attention to e-mails re: mediation, follow-up          0.40       $284.00
                    re: same (.4).
10/27/15    CWD E-mails re mediation, reviewing docket (.3).               0.30       $189.00
10/27/15    DAL     Mediation (8.3).                                       8.30      $7,719.00
10/28/15    CWD E-mails re mediation, follow up re same, TC D.             0.60       $378.00
                  Lowenthal re same (.5); reviewing docket (.1).
10/28/15    DAL     Mediation (8.0).                                       8.00      $7,440.00
10/29/15    BPG     Review materials from mediation, follow-up re:         1.70      $1,207.00
                    same, confer D. Lowenthal and C. Dent re:
                    open issues, prepare for weekly call, participate
                    on same and follow-up (1.7).
10/29/15    CWD OC D. Lowenthal re mediation (.2); Committee               1.50       $945.00
                 call, OC D. Lowenthal and B. Guiney re same
                 and mediation (1.3).
10/29/15    DAL     Work on mediation issues in light of J. Farnan's       1.50      $1,395.00
                    requests (1.5).

                                                    Total Services       100.10     $83,959.00


             Daniel A Lowenthal           60.40 hours at       $930.00 $56,172.00
             Brian P. Guiney              34.70 hours at       $710.00 $24,637.00
             Craig W. Dent                 5.00 hours at       $630.00 $3,150.00

                                                    Total Expenses                      $0.00

                                                    Total This Invoice              $83,959,0Q
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                      Patterson Belknap Webb & Tyler                                         LLP


             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 837881
400 Madison Avenue                                                                December 4, 2015
New York, NY 10017                                                                FE1 No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                               November 30, 2015 In Connection With The Following:


11/2/15         BPG       Review PWC chart, follow-up re: same (.2);               0.30            $213.00
                          additional follow-up (.1).
11/2/15         CWD E-mails re PWC call, reviewing docket (.1);                    0.30            $189.00
                      reviewing PWC allocation chart, e-mails re
                      same (.2).
11/2/15         DAL       Emails re mediation call (.3).                           0.30            $279.00
11/3/15         BPG       Review e-mail with issues list from J. Bromley           0.50            $355.00
                          and follow-up D. Lowenthal and C. Dent re:
                          same (.5).
11/3/15         CWD E-mails re UKP chart and mediation (.3).                       0.30            $189.00

11/3/15         DAL Emails from the Debtors re consolidation of                    0.20            $186.00
                      appeals and email to J. Heaney re same (.2).
11/4/15         BPG       Follow-up D. Lowenthal and C. Dent re: UKP               0.20            $142.00
                          chart, call re: same (.2).
11/4/15         CWD Reviewing docket (.1); e-mails re PWC                          0.40            $252.00
                     mediation call (.3).
11/4/15         DAL Work on mediation issues in response to                        0.80            $744.00
                     mediator's request (.8).
11/5/15         BPG       Reviewing e-mail correspondence in advance               1.00            $710.00
                          of PWC call, follow-up D. Lowenthal and C.
                          Dent re: open issues (.7); analyzing proposed
                          UCC submission and follow-up (.3).
11/5/15         CWD E-mails re Nortel mediation call, preparing for                4.30         $2,709.00
                      same, participating in same (2.9); Committee
                      call (1.3); e-mails re mediation meeting (.1).




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                                                                            December 4, 2015
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11/5/15       DAL Emails re UKP chart (.2): analysis re same and            3.90       $3,627.00
                    email other Core Parties and J. Heaney (2.0);
                    emails with J. Heaney re Committee call (.1);
                    review detailed email from the Monitor's
                    counsel re the UKP chart (.4); review email
                    from UKP's counsel re call with mediator (.1);
                    review Committee's draft statement to the
                    mediator (.5); review update on UCC call (.2);
                    further analysis based on Core Parties' tc re
                    UKP chart (.4).
11/8/15       CWD E-mails re mediation (.1).                                0.10          $63.00
11/8/15       DAL Review email from mediator re mediation this              0.40         $372.00
                    week (.1); review email from F. Hodara re
                    same (.1); review draft position paper to
                    mediator (.2).
11/9/15       BPG     Consider UCC mediation submission and                 1.10         $781.00
                      follow-up, e-mails re: same (.2); reviewing
                      Law Debenture submission and confer D.
                      Lowenthal re: same (.2); attention to e-mails,
                      consider settlement issues and confer C. Dent
                      re: mediation (.7).
11/9/15       CWD E-mails re mediation, reviewing docket (.3).              0.30         $189.00
11/9/15       DAL Mediation at Cleary and Milbank (8.9).                    8.90       $8,277.00
11/10/15      BPG     Attention to e-mails re: mediation, follow-up          1.30        $923.00
                      re: same, confer D. Lowenthal re: same (.8);
                      attention to e-mails re: same, reviewing term
                      sheet and follow-up (.5).
11/10/15      CWD Reviewing docket, e-mails re mediation (.2);              0.60         $378.00
                   reviewing term sheets, e-mails re same (.4).
11/10/15      DAL     Mediation at Akin (8.8).                              8.80       $8,184.00
11/11/15      BPG     Confer D. Lowenthal re: mediation, follow-up          1.80       $1,278.00
                      re: same and attention to e-mails (.5); confer C.
                      Dent re: same and TC D. Lowenthal re: direct
                      allocation (.3); researching indenture issues,
                      follow-up re: same, confer C. Dent re: same
                      (.8); review revised splits, e-mails re: same (.2).




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11/11/15      CWD   E-mails re mediation, OC B. Guiney re same,         1.10       $693.00
                    TC D. Lowenthal re same, reviewing revised
                    term sheet (.9); TC B. Guiney re settlement
                    issues (.2).
11/11/15      DAL   Mediation at Cleary (6.5).                          6.50     $6,045.00
11/12/15      CWD   Reviewing docket (.1).                              0.10        $63.00
11/16/15      BPG   Prepare for and participate on weekly call,         1.10       $781.00
                    follow-up re: same (.6); follow-up re:
                    mediation issues, confer D. Lowenthal re:
                    conversations with holders' counsel, follow-up
                    re: same (.5).
11/16/15      CWD   Committee call, OC D. Lowenthal and B.              0.50       $315.00
                    Guiney re related issues (.6).
11/16/15      DAL   Review mediation recovery scenarios (.5); tc J.     0.80       $744.00
                    Tecce re mediation and follow-up with B.
                    Guiney (.3).
11/17/15      BPG   Review and consider e-mails from D.                 0.40       $284.00
                    Lowenthal re: mediation (.2); same (.1);
                    additional follow-up (.1).
11/17/15      CWD   E-mails re mediation (.1); reviewing docket         0.20       $126.00
                    (.1).
11/17/15      DAL   Mediation at Cleary (7.6).                          7.60     $7,068.00
11/18/15      BPG   Attention to multiple updates from mediation,       1.00       $710.00
                    follow-up C. Dent re: same, consider open
                    issues (.5); confer D. Lowenthal re: same and
                    follow-up (.5).
11/18/15      CWD   E-mails re mediation, OC B. Guiney re same          0.20       $126.00
                    (.2).
11/18/15      DAL   Mediation at Cleary (5.3); follow-up emails to      5.90     $5,487.00
                    S. Miller and E. Lamek (.2); follow-up with B.
                    Guiney (.4).
11/20/15      BPG   Consider open issues with D. Lowenthal,             0.60       $426.00
                    confer re: mediation, attention to appeal
                    calendar, review docket and recent pleadings.




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11/24/15      BPG    Confer D. Lowenthal re: scheduling, appeal             0.20        $142.00
                     issues (.2).
11/25/15      BPG    Begin reviewing draft appeal briefs (2.5).             2.50       $1,775.00
11/27/15      BPG    Reviewing appeal briefs (1.0).                         1.00        $710.00
11/27/15      DAL    Review draft appeal briefs (1.5).                      1.50       $1,395.00
11/29/15      DAL    Review draft appeal briefs (2.5).                      2.50       $2,325.00
11/30/15.     BPG    Prepare for and monitor weekly call, follow-up         0.60        $426.00
                     re: same (.6).
11/30/15      DAL    Analyze appeal briefs and give comments to             0.60        $558.00
                     Akin (.6).

                                                      Total Services       70.70      $60,239.00


               Daniel A Lowenthal         48.70 hours at        $930.00 $45,291.00
               Brian P. Guiney            13.60 hours at        $710.00 $9,656.00
               Craig W. Dent               8.40 hours at        $630.00 $5,292.00


                     Tvl - Meals                                             125.46
                     Tvl. Transportation/Lodging                             498.90

                                                      Total Expenses                    $624.36


                                                      Total This Invoice              $60,863,36




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                        Patterson Belknap Webb &Tyler LIP
              1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                             Invoice No. 839718
400 Madison Avenue                                                                  January 7, 2016
New York, NY 10017                                                                  FEI No. XX-XXXXXXX

 Re: NORTEL                                                                         L0353-000007


                                   CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                December 31, 2015 In Connection With The Following:


12/1/15           BPG       Ongoing review of appeal briefs (1.2); OC C.            1.90         $1,349.00
                            Dent re: appeal issues, scheduling, follow-up
                            D. Lowenthal re: same, calendar same (.4);
                            review revised brief (.3).
12/1/15           CWD      Reviewing docket (.1); OC B. Guiney re                   0.30           $189.00
                           appellate briefing issues (.2).
12/3/15           BPG      Attention to docket, attention to appeal briefs          0.50           $355.00
                           and e-mails related to same, confer C. Dent re:
                           quarterly update (.5).
12/3/15           CWD      Reviewing docket (.1).                                   0.10            $63.00
12/4/15           BPG      Reviewing opening briefs and follow-up (1.5).            1.50         $1,065.00
12/4/15           CWD      Reviewing appellate briefs, OC D. Lowenthal              2.40         $1,512.00
                           and B. Guiney re same (2.4).
12/7/15           BPG      Reviewing appeal briefs (.6).                            0.60           $426.00
12/7/15           CWD      Finish reviewing Nortel appellate brief.                 0.10            $63.00
12/8/15           BPG      Attention to order from MJ Thynge (.1), confer           1.00           $710.00
                           D. Lowenthal, C. Dent re: same (.2), review e-
                           mails re: same (.1); attention to docket (.1);
                           begin gathering materials for quarterly update
                           (.5).
12/8/15           DAL      Work on fee statement (.1).                              0.10            $93.00




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                                                                          January 7, 2016
                                                                          L0353-000007



12/9/15       BPG     Attention to e-mails re: J. Thynge                  0.70         $497.00
                      recommendation, attention to docket (.2);
                      reviewing fee applications and confer D.
                      Lowenthal re: same and re: Dewey issue (.5).
12/9/15       DAL Review updated mediation recommendation                 0.40         $372.00
                    and send to J. Heaney (.2), review related email
                    from Akin (.1), and send recommendation to E.
                    Lamek (.1).
12/10/15      BPG Reviewing ASM 9019 motion and settlement                3.60       $2,556.00
                    and other materials for UCC call (.4);
                    reviewing SNMP materials (1.2); participate on
                    weekly call and follow-up (1.0); reviewing
                    trade claims brief and research re: same (1.0).
12/10/15      CWD Committee call, OC D. Lowenthal and B.                  1.10         $693.00
                   Guiney re same (.9); reviewing docket (.2).
12/10/15      DAL Update on next steps in mediation and analysis          1.00         $930.00
                    of appeal briefs in weekly call (1.0).
12/11/15      BPG     Work on quarterly update (3.0).                     3.00       $2,130.00
12/14/15      BPG     Finalize quarterly summary and circulate (.2);      0.30         $213.00
                      review docket (.1).
12/14/15      CWD E-mails re client update (.1); e-mails re TC            0.20         $126.00
                    w/Akin, OC D. Lowenthal re same (.1).
12/14/15      DAL Tc F. Hodara re mediation (.2); review appeal           2.40       $2,232.00
                    briefs (1.2); tc F. Hodara and follow-up with J.
                    Heaney (1.0).
12/15/15      DAL     Review and revise client quarterly update re        2.10       $1,953.00
                      status of key issues (2.1).
12/16/15      CWD Reviewing docket (.1).                                  0.10          $63.00
12/16/15      DAL     Review mediation issues (1.9); tc S. Star re        2.40       $2,232.00
                      case issues (.2); review appeal filed in Canada
                      (.3).
12/17/15      BPG     Review and consider materials for weekly call       3.00       $2,130.00
                      (1.1); participate on same (1.4); follow-up TC
                      with D. Lowenthal and C. Dent re: same (.3);
                      additional follow-up re: same (.2).




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12/17/15      CWD Committee call, TC D. Lowenthal and B.                   1.80      $1,134.00
                   Guiney re same (1.8).
12/17/15      DAL     Review mediation issues (1.9); tc S. Star re         2.40      $2,232.00
                      case issues (.2); review appeal filed in Canada
                      (.3).
12/18/15      BPG     Confer D. Lowenthal re: open issues, follow-up       1.00        $710.00
                      re: same and consider mediation issues (.7);
                      follow-up re: SNMP hearing (.1); review
                      docket (.2).
12/18/15      CWD Reviewing docket, follow up re 12/22 hearing,            0.20        $126.00
                   TC D. Lowenthal re same (.2).
12/18/15      DAL     Attention to mediation developments (.3); tc E.      0.90        $837.00
                      Lamek re Canadian appeal issues (.6).
12/21/15      BPG     Confer C. Dent re: hearing (.1).                     0.10         $71.00
12/21/15      CWD Reviewing docket, OC B. Guiney re hearing                0.10         $63.00
                   (.1).
12/22/15      BPG Review pleadings for and monitor SNMP                   3.10       $2,201.00
                    hearing, follow-up re: same (2.8); confer C.
                    Dent re: same (.1); review D. Botter update e-
                    mail and follow-up (.2).
12/22/15      CWD Reviewing docket, OC B. Guiney re hearing                0.10         $63.00
                   (.1).
12/23/15      CWD Reviewing docket (.1).                                   0.10         $63.00
12/28/15      BPG     Review docket (.1).                                  0.10         $71.00
12/29/15      CWD Reviewing docket (.1).                                  0.10          $63.00

                                                     Total Services       38.80     $29,586.00


               Daniel A Lowenthal           11.70 hours at $930.00 $10,881.00
               Brian P. Guiney              20.40 hours at $710.00 $14,484.00
               Craig W. Dent                 6.70 hours at $630.00 $4,221.00


                                                     Total Expenses                      $0.00

                                                     Total This Invoice             $29,586.00



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                      Patterson Belknap Webb &Tyler LIP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 841631
400 Madison Avenue                                                                February 16, 2016
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                January 31, 2016 In Connection With The Following:


1/4/16          BPG       Confer D. Lowenthal re: mediation and other              0.30           $222.00
                          open issues, follow-up re: same (.3).
1/4/16          CWD Reviewing docket, OC D. Lowenthal re                           0.10            $67.50
                     mediation (.1).
1/4/16          DAL Mediation update with B. Guiney (.3).                          0.30           $291.00
1/5/16          BPG       Follow-up re: briefing schedule (.1).                    0.10            $74.00
1/5/16          DAL Detailed message for J. Farnan, email J.                       1.50         $1,455.00
                      Heaney, email colleagues re briefing schedule
                      (.7); review email from UKP counsel re court
                      issues (.8).
1/6/16          BPG       OC D. Lowenthal re: mediation, open issues               1.20           $888.00
                          (.5); attention to e-mails pertaining to payment
                          of fees in Canadian case (.4); attention to e-
                          mail from C. Samis and follow-up (.2); review
                          e-mails re: mediation updates (.1).
1/6/16          DAL       Leave message for J. Bromley, tc J. Bromley,             1.80         $1,746.00
                          tcs F. Hodara re update on mediation, conf. B.
                          Guiney re same, memos to J. Heaney re same
                          (1.6); review email from UCC's Delaware
                          counsel re filing appellate briefs (.2).
1/7/16          BPG       Review materials for Committee call, review              1.50         $1,110.00
                          docket, confer D. Lowenthal re: open issues
                          and follow-up (1.5).
1/7/16          DAL Weekly call and email E. Lamek re Canadian                     1.60         $1,552.00
                     proceedings (1.4); update from Akin on
                     mediation (.2).



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1/8/16        DAL Work on fee statement (.2); review proposed              0.90        $873.00
                   modification of E&Y statement of work in US
                   (.1); tc E. Lamek and emails with F. Hodara re
                   court hearing in Canada and mediation update
                   (.6).
1/12/16       BPG     Review docket, attention to recent fee               0.40        $296.00
                      statements and fee reports, confer D.
                      Lowenthal re: open issues (.4).
1/12/16       CWD E-mails re appellate issues, reviewing docket            0.10         $67.50
                    (.1).
1 /1 2/16     CWD Reviewing CCC appellate brief, reviewing                 0.10         $67.50
                    docket (.1).
1/13/16       BPG     Begin reviewing appellate briefs, follow-up D.       1.90      $1,406.00
                      Lowenthal re: same (.7); reviewing appellate
                      briefs (1.1); review revised 2019 (.1).
1/13/16       CWD Reviewing appellate briefs in opposition to             0.20         $135.00
                   U.S. opening briefs (.2).
1/14/16       BPG Review materials for Committee call and                 2.60       $1,924.00
                    participate on same, follow-up re: same (1.5);
                    reviewing appellate briefs (1.1).
1/14/16       CWD Reviewing analysis of Milbank group's                   1.30         $877.50
                   holdings (.1); Committee call, OC D.
                   Lowenthal and B. Guiney re appeal issues (.9);
                   reviewing appellate briefs, OC B. Guiney re
                   related issues (.3).
1/14/16       DAL     Review holdings (.1); tc J. Tecce (.1); weekly      2.30       $2,231.00
                      call and related follow-up (1.00); mediation
                      update (.1); review appeal briefs (1.0).
1/15/16       BPG     Attention to e-mails re: mediation, follow-up       2.00       $1,480.00
                      re: same, confer D. Lowenthal re: same (.3);
                      reviewing appellate briefs (1.7).
1/15/16       CWD Emails re mediation (.1); reviewing docket (.1).        0.20         $135.00
1/15/16       DAL, Review update on mediation and review appeal           2.20       $2,134.00
                    briefs (2.2).
1/19/16       BPG     Reviewing appellate briefs, analyzing and           4.50       $3,330.00
                      considering appeal issues, follow-up re: same.




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1/20/16       BPG     Confer D. Lowenthal re: brief, follow-up re:         2.00       $1,480.00
                      same, consider appeal arguments (.7); follow-
                      up same re: same (.2); reviewing and
                      considering appeal briefs and appeal issues
                      (1.1).
1/20/16       CWD Reviewing docket and agenda for 1/22 hearing,             0.10         $67.50
                   e-mails re same (.1).
1/20/16       DAL     Review appeal briefs (.8).                           0.80         $776.00
1/21/16       BPG     Review materials for UCC call, prepare for           4.30       $3,182.00
                      same, participate on same, follow-up OC with
                      D. Lowenthal and C. Dent re: appeal issues,
                      additional follow-up with C. Dent re: same,
                      attention to public posting of briefs and follow-
                      up (4.2).
1/21/16       CWD OC D. Lowenthal re hearing, follow up re same            1.60       $1,080.00
                   (.1); reviewing docket (.1); OC D. Lowenthal
                   re appeal issues (.1); Committee call, OC D.
                   Lowenthal and B. Guiney re appellate response
                   (1.3).
1/21/16       DAL Analyze appeal issues with B. Guiney and C.              2.30       $2,231,00
                    Dent (for part), weekly call, email J. Tecce
                    (2.3).
1/22/16       BPG     Prepare and tc with J. Tecce re: appellate brief,    2.50       $1,850.00
                      with D. Lowenthal, follow-up re: same,
                      reviewing mediation reports per same and
                      follow-up, consider outline for brief.
1/22/16       DAL     Court hearing (1.7); work on appeal, including       3.70       $3,589.00
                      tc with Tecce (2.0).
1/25/16       BPG     Working on appellate brief (reviewing trial          4.50       $3,330.00
                      decision, researching 105 case law, outlining
                      appellate response) (4.5).
1/26/16       BPG     Follow-up re: meeting (.1); consider appellate       0.50         $370.00
                      brief and research re: same (.4).
1/26/16       CWD TC B. Guiney re holder communications (.2);              0.30        $202.50
                  reviewing docket (.1).




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1/27/16      BPG     Confer C. Dent re: open issues, reviewing            4.80       $3,552.00
                     briefs, working on outline for reply brief and
                     working on draft reply, tc R. Johnson, follow-
                     up re: same (4.8).
1/27/16      CWD OC B. Guiney re appellate response, follow up            0.40        $270.00
                  re same (.3); reviewing docket (.1).
1/28/16      BPG     Review materials for UCC call (.5); review           4.60       $3,404.00
                     outline for brief and confer C. Dent re: same
                     (.6); prepare for and participate on Committee
                     call, follow-up re: same (1.2); attention to 9019
                     motions (.4); researching 105(a) cases and
                     considering outline for appeal (1.9).
1/28/16      CWD Reviewing outline of Akin appellate brief, e-            1.40        $945.00
                  mails re same (.3); preparing for and
                  participating in Committee call (1.0); reviewing
                  docket (.1).
1/29/16      CWD Reviewing docket.                                        0.10         $67.50

                                                    Total Services       61.00      $48,758.50


              Daniel A Lowenthal           17.40 hours at      $970.00 $16,878.00
              Brian P. Guiney              37.70 hours at      $740.00 $27,898.00
              Craig W. Dent                 5.90 hours at      $675.00 $3,982.50


                     Lexis Electronic Research                              19.50
                     Reproduction                                            0.30

                                                    Total Expenses                     $19.80


                                                    Total This Invoice              $48,778.30




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                       Patterson Belknap Webb & Tyler U.P
              1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwicom

Law Debenture Trust Company of New York                                           Invoice No. 843792
400 Madison Avenue                                                                March 8, 2016
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                February 29, 2016 In Connection With The Following:


2/1/16           BPG      Work on appeal brief (3.0).                             3.00         $2,220.00
2/1/16          CWD       E-mails re Opinion and Order re EMEA-SNMP               0.10            $67.50
                          (.1).
2/2/16          BPG       Confer D. Lowenthal re: appeal brief and                1.00           $740.00
                          follow-up re: same, additional reading re: same;
                          review docket.
2/2/16          CWD       Reviewing docket (.1).                                  0.10            $67.50
2/3/16          BPG       Attention to appeal brief (.6).                         0.60           $444.00
2/3/16          CWD       Reviewing docket, e-mails re Solus settlement           0.10            $67.50
                          (.1).
2/4/16          BPG       Prepare for and participate on weekly call,             3.40         $2,516.00
                          follow-up re: same (.7); review SNMP order,
                          appeal briefs (1.5); follow-up re: allocation
                          appellate brief, research re: same (1.2).
2/4/16          CWD       Preparing for and participating in Committee            0.90           $607.50
                          call; reviewing docket (.3).
2/5/16          BPG       Working on outline, reviewing draft briefs              5.90         $4,366.00
                          (2.2); work on brief (3.7).
2/5/16          CWD       Reviewing docket (.1).                                  0.10            $67.50
2/8/16          BPG       Prepare for and OC with D. Lowenthal re:                6.50         $4,810.00
                          appellate brief (.6); working on same (2.5);
                          continue working on same (3.4).
2/8/16          CWD       OC B. Guiney re appellate response (.1).                0.10            $67.50




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2/8/16        DAL Review draft appeal briefs and work on brief             6.60    $6,402.00
                    (6.6).
2/9/16        BPG     Review responses to BHG leave to appeal (.8);        3.10    $2,294.00
                      work on and finalize appellate brief (1.6);
                      confer C. Dent and D. Lowenthal re: same,
                      follow-up re: same (.7).
2/9/16        CWD Reviewing docket (.1); reviewing Canadian                1.40      $945.00
                   appeals filings (.1); reviewing and revising
                   draft appellate response, e-mails re same, TC
                   B. Guiney re same (1.2).
2/9/16        DAL     Tc S. Miller re case issues (.2); review and         4.70    $4,559.00
                      revise draft brief (4.5).
2/10/16       BPG     Confer C. Dent re: brief (.2); follow-up re:         3.10    $2,294.00
                      same (.1); confer D. Lowenthal re: brief (.3);
                      review and revise same, working on same (2.5).
2/10/16       CWD OC B. Guiney re appellate filings, e-mails and           2.30    $1,552.50
                   follow up re same, reviewing draft of U.S.
                   Debtors' response, reviewing and revising
                   revised draft of same (1.7); reviewing docket
                   (.1).
2/10/16       DAL Draft brief (4.6).                                       4.60    $4,462.00
2/11/16       BPG Working on brief, confer D. Lowenthal and C.             6.40    $4,736.00
                    Dent re: same, follow-up re: same; prepare for
                   weekly call and participate on same; finalize
                    brief and circulate, review e-mails re: same;
                    review revised UCC brief; review SNMP
                   decisions; review revised CGSH brief, confer
                   D. Lowenthal re: same; e-mails with C. Dent
                   and D. Lowenthal re: Kinrich report, follow-up
                    re: same (6.4).
2/11/16       CWD E-mails re appellate response, OC D.                     2.50    $1,687.50
                    Lowenthal and B. Guiney re same, revising
                    same, TCs re same (2.0); Committee call,
                    preparing for same (.5).
2/11/16       DAL     Draft brief and send same to J. Heaney, J.           5.10    $4,947.00
                      Tecce, and S. Miller; review Cleary draft; and
                      weekly call (5.1).




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2/12/16        BPG   Multiple TC's, e-mails and conferences with C.        3.90      $2,886.00
                     Dent and D. Lowenthal re: brief, working on
                     same and finalize same, follow-up S. Miller re:
                     certification and service (3.9).
2/12/16        CWD   Reviewing and revising draft appellate filing,       2.60       $1,755.00
                     OC B. Guiney re same, TC D. Lowenthal re
                     same (2.3); reviewing filed briefs (.3).
2/12/16        DAL   Update to J. Heaney (.2); revise finalize brief       5.50      $5,335.00
                     (4.5); review other parties' briefs and case law
                     (.8).
2/16/16        BPG   Reviewing appellate briefs, confer D.                3.50       $2,590.00
                     Lowenthal re: status (3.5).
2/16/16        CWD   Reviewing appellate filings (.3).                     0.30        $202.50
2/16/16        DAL   Review appellate briefs (1.5); work on fee           2.30       $2,231.00
                     statement (.8).
2/17/16        BPG   Attention to e-mails, review docket (.2).            0.20         $148.00
2/17/16        CWD   Reviewing appellate filings (.2); reviewing          0.30         $202.50
                     docket (.1).
2/18/16        BPG   Review SNMP materials, review objection to           3.70       $2,738.00
                     Solus 9019, review UKP progress report,
                     participate on weekly call, follow-up re: same,
                     OC D. Lowenthal re: same, follow-up re: C.
                     Samis request to post brief (3.7).
2/18/16        DAL   Update re appeal issues from B. Guiney (for          0.60         $582.00
                     part).
2/19/16        DAL   Work on fee statement and send to J. Heaney          0.40         $388.00
                     (.4).
2/22/16        BPG   Review docket (.1).                                  0.10          $74.00
2/24/16        BPG   Confer D. Lowenthal re: fee issues, follow-up        0.60         $444.00
                     re: same and consider same (.4); review docket
                     (.1); attention to agenda and materials for call
                     (.1).
2/24/16        DAL   Review EMFA brief.                                   0.50         $485.00




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2/25/16       BPG     Review materials for call and follow-up, confer       1.50       $1,110.00
                      D. Lowenthal re: same (1.0); participate on
                      weekly call and follow-up (.5).
2/25/16       DAL Review cases in preparation for oral argument,            2.90       $2,813.00
                    update on EMEA and SNMP, weekly call,
                    email from US Debtors' counsel re call with J.
                    Stark's chambers re appeal logistics, emails
                    with S. Miller re same, email from C. Samis, re
                    appeal mediation (2.9).
2/26/16       DAL Update from S. Miller on tc with J. Stark's               1.00         $970.00
                    chambers re filling briefs and next steps (.5);
                    review order (.5).
2/29/16       BPG     Review docket, follow-up re: SNMP schedule            0.30         $222.00
                      (.3).
2/29/16       CWD Reviewing docket (.1).                                    0.10          $67.50

                                                      Total Services       91.90      $75,163.50


               Daniel A Lowenthal          34.20 hours at       $970.00 $33,174.00
               Brian P. Guiney             46.80 hours at       $740.00 $34,632.00
               Craig W. Dent               10.90 hours at       $675.00 $7,357.50


                      Filing Fees/Index Fees                                 149.00
                      Lexis Electronic Research                               38.70
                      Outside Professional Services                           65.00

                                                      Total Expenses                    $252.70


                                                      Total This Invoice              $75,4).6.20




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                       Patterson Belknap Webb & lyler U.P
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                            Invoice No. 845979
400 Madison Avenue                                                                 April 12, 2016
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                 March 31, 2016 In Connection With The Following:


3/2/16           BPG      Attention to e-mails regarding appeal oral               1.00           $740.00
                          argument, follow-up D. Lowenthal re: same,
                          attention to additional e-mails re: same,
                          consider same; discuss with D. Lowenthal (.5);
                          review monthly fee applications, consider same
                          with D. Lowenthal (.5).
3/2/16           CWD Reviewing docket (.1).                                        0.10            $67.50
3/2/16           DAL Review information received from J. Heaney                    1.20         $1,164.00
                       and respond to same (.5); multiple emails with
                       Core Parties re oral argument issues (.4);
                       review J. Stark order and tc and emails with S.
                       Miller, B. Guiney, and C. Dent re same (.3).
3/3/16           BPG      Review materials for call (.4); prepare for and          1.50         $1,110.00
                          participate on same (.4); multiple TCs and e-
                          mails re: filing and hyperlinking e-brief,
                          follow-up re: same (.7).
3/3/16          CWD Nortel call, follow up re same (.5); e-mails re                0.60           $405.00
                     appeal briefs (.1).
3/3/16           DAL      Emails with J. Heaney re case issues (.1);               0.20           $194.00
                          emails re brief filings (.1).
3/4/16          BPG       Follow-up re: hyperlinking brief, deliver                0.50           $370.00
                          materials to vendor, update with S. Miller re:
                          same (.5).
3/4/16          CWD E-mails re appeal briefs, reviewing docket (.1).               0.10            $67.50
3/4/16          DAL       Review status re filing briefs and email re              0.60           $582.00
                          SNMP (.6).



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3/7/16        BPG Review SNMP docket, appeal docket and                      3.20    $2,368.00
                    chapter 15 docket, gathering SNMP materials
                    for D. Lowenthal and preparing short summary
                    re: same; review same and circulate all
                    materials (2.1); follow-up re: brief submission,
                    oral argument issues, e-mails with S. Miller re:
                    e-brief (.5); review e-brief and follow-up S.
                    Gill re: same (.6).
3/7/16        CWD E-mails re appeal briefs and appeal records,               0.10       $67.50
                    reviewing docket (.1).
3/7/16        DAL Emails with Debtors' counsel and S. Miller re              0.20      $194.00
                    record on appeal (.2).
3/8/16        BPG     Pull additional materials for e-brief; testing         1.20      $888.00
                      same; follow-up S. Gill re: same (.6); confer D.
                      Lowenthal re: e-brief, follow-up re: same (.2);
                      attention to 2019, confer D. Lowenthal re: same
                      (.2); tc T. Minott re: same and follow-up (.2).
3/8/16        CWD Reviewing docket, e-mails re 2019 (.1).                    0.10       $67.50
3/8/16        DAL Work on fee statement (1.1); begin review                  3.00    $2,910.00
                   SNMP memo and briefs, review updated 2019
                   statement and send to J. Heaney, update from
                   B. Guiney on appeal-record issues, review
                   email to U.S. Debtors' counsel re same, review
                   Monitor's updated and corrected appeal brief,
                   review Motion re resolution of claims (1.9).
3/9/16        BPG     Follow-up e-mails re: e-brief (.2).                    0.20      $148.00
3/9/16        CWD Reviewing docket (.1).                                     0.10       $67.50
3/9/16        DAL Review three SNMP court decisions decisions                4.50    $4,365.00
                    and multiple briefs as well as motion to seal in
                    Canada (4.5).
3/10/16       BPG     Review materials for weekly call, prepare for          1.80    $1,332.00
                      and participate on same, follow-up re: same
                      (.6); attention to record on appeal, finalizing
                      and submitting e-brief (1.2).
3/10/16       CWD Reviewing docket (.1).                                     0.10       $67.50
3/11/16      BPG      E-mails and follow-up re: filing brief (.4);           3.50    $2,590.00
                      reviewing cross-appeal replies (3.1).




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                                                                          L0353-000007


3/11/16       CWD   E-mails re appellate briefs (.1).                      0.10         $67.50
3/14/16       CWD   Reviewing appellate replies (.2).                      0.20        $135.00
3/14/16       DAL   Work on and finalize fee statement and send to         0.50        $485.00
                    J. Heaney (.5).
3/15/16       CWD   Reviewing docket (.1); finish reviewing                0.20        $135.00
                    appellate responses (.1).
3/16/16       CWD   Reviewing correspondence re new Canadian               0.10         $67.50
                    debtors (.1).
3/17/16       BPG   Follow-up re: record on appeal, coordinate with        0.50        $370.00
                    IT re: same (.5).
3/17/16       CWD   Reviewing docket, preparing for and                    1.40        $945.00
                    participating in Committee call (1.4).
3/17/16       DAL   Review status of briefing and updates in               1.20      $1,164.00
                    Canada (1.2).
3/18/16       BPG   Reviewing record on appeal, multiple e-mails           2.00      $1,480.00
                    re: same (1.2); attention to materials from Matt
                    Fagen for weekly call (.8).
3/18/16       CWD   Reviewing designations re appeals, e-mails re          0.60        $405.00
                    same, TC D. Lowenthal re same (.5); reviewing
                    docket (.1).
3/18/16       DAL   Review multiple pleadings in past quarter and          3.10      $3,007.00
                    begin drafting client memo (3.1).
3/20/16       DAL   Draft quarterly client memo (2.8).                     2.80      $2,716.00
3/21/16       BPG   Review status report and follow-up (.4);               0.60        $444.00
                    additional follow-up re: same (.2).
3/21/16       CWD   Reviewing docket (.1); reviewing and revising          0.90        $607.50
                    quarterly update, OC D. Lowenthal re same
                    (.8).
3/21/16       DAL   Revise and complete client memo (.2).                  0.20        $194.00
3/22/16       BPG   Review e-mail re: motion, review same, confer          3.50      $2,590.00
                    D. Lowenthal re: same and follow-up re: same
                    (2.1); review MORs and send to D. Lowenthal
                    (.3); emails and TCs with D. Lowenthal re: oral
                    argument (.3); review motion for leave to file
                    sur-reply and draft of same (.8).




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3/22/16       CWD Reviewing motion to convert cases, e-mails re           0.10         $67.50
                   same (.1).
3/22/16      DAL Review motion to compel a distribution and to            3.50      $3,395.00
                   convert (2.1); Tc R. Johnson re appeal
                   argument and status (0.2); Tc B. Guiney re
                   same (0.2); review memo from R. Johnson and
                   draft Cleary motion, memo for a sur-reply and
                   related MRDA issues (1.0).
3/23/16      BPG     Consider oral argument with D. Lowenthal and         1.20        $888.00
                     follow-up re: same (.8); follow-up re: same
                     (.1); attention to e-mails re: same (.1); review
                     revised sur-reply (.2).
3/23/16      CWD E-mails re oral argument in appellate actions,           0.40        $270.00
                   TC B. Guiney re same (.2); reviewing draft sur-
                   reply to appellees' (.2).
3/23/16      DAL Attention to oral argument, including emails             4.70      $4,559.00
                   with J. Heaney and J. Schlerf, conf with B.
                   Guiney; (2.4); review MORs (.3); Tc J. Heaney
                   re oral argument (1.4); review letter from the
                   Trade Consortium to J. Stark re oral argument
                   and send to J. Heaney (.2); review updated stir-
                   reply brief (.4).
3/24/16      BPG     Review materials for Nortel call (.2); confer D.     0.80        $592.00
                     Lowenthal re: same, re: oral argument (.2);
                     monitor weekly call (for part) (.2); follow-up C.
                     Dent re: same (.2).
3/24/16      CWD Preparing for and participating in Committee             1.50      $1,012.50
                   call, OC D. Lowenthal re same, OC B. Guiney
                   re same (1.5).
3/24/16      DAL Work on appeal matters, including weekly call.           1.30      $1,261.00
3/28/16      BPG     Confer D. Lowenthal re: oral argument, open          3.30      $2,442.00
                     issues (.5); follow-up e-mails re: same (.3);
                     review oral argument outline and comment on
                     same (1.2); consider LSI motion and possible
                     response, begin outlining same and confer D.
                     Lowenthal re: same (.9); review SNMP reply
                     brief (.4).




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3/28/16       CWD E-mails re oral argument and related issues, TC          0.30        $202.50
                    D. Lowenthal (.3).
3/28/16       DAL Review draft letter to Court and email J.                5.40      $5,238.00
                    Heaney, attention to oral argument, including
                    Tc with M. Riela, conf. B. Guiney re same,
                    emails with Akin re same, review multiple
                    letters to J. Stark; review oral arguments
                    outline, and emails with other counsel (5.4).
3/29/16       BPG      Work on response to LSI motion (2.8); review        3.50      $2,590.00
                       e-mails and letters to District Court, monitor
                       court conference and follow-up D. Lowenthal
                       re: same (.7).
3/29/16       CWD Reviewing docket, e-mails re appeals (.1); OC            0.20        $135.00
                   B. Guiney re J. Stark teleconference and
                   response to motion re interim distributions (.1).
3/29/16       DAL Review Joint Status Report to J. Stark, Tc J.            1.70      $1,649.00
                    Tecce re today's call and April 5 hearing,
                    update B. Guiney (.5); prepare for and
                    participate in Court status call before J. Stark
                    and follow-up call from R. Johnson (1.2).
3/30/16       DAL Review documents received from Akin (.2).                0.20        $194.00
3/31/16       BPG  Review materials for call, reviewing previous           3.40      $2,516.00
                   BRG decks, confer D. Lowenthal re: same and
                   follow-up (1.6); prepare for and participate on
                   weekly UCC call (including reviewing 3/8 term
                   sheet), follow-up re: same (1.5); attention to e-
                   mails re: LSI motion and follow-up re: same
                   (.3).
3/31/16       CWD Reviewing settlement term sheet and BRG                  1.30        $877.50
                   analysis (.1); Committee call, preparing for
                   same, OC D. Lowenthal and B. Guiney re same
                   and oral argument for appeals (1.2).
3/31/16       DAL Review opposition to sur-reply, BRG deck, and            3.40      $3,298.00
                    settlement term sheets (3.00); Tc K. Dine re
                    case issues (.4).




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                                                    Total Services       77.90       $65,764.50


              Daniel A Lowenthal        37.70 hours at        $970.00 $36,569.00
              Brian P. Guiney           31.70 hours at        $740.00 $23,458.00
              Craig W. Dent              8.50 hours at        $675.00 $5,737.50


                    Lexis Electronic Research                               32.02
                    Outside Professional Services                          301.95
                    Tvl. Transportation/Lodging                             60.00

                                                    Total Expenses                     $393.97


                                                    Total This Invoice              16.6.412.42




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                       Patterson Belknap Webb & 'Tyler LLP
              1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                            Invoice No. 848265
400 Madison Avenue                                                                 May 16, 2016
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                   April 30, 2016 In Connection With The Following:


4/1/16           BPG       Confer D. Lowenthal re: LSI, distribution,               0.30          $222.00
                           follow-up re: same (.3).
4/1 /16          CWD Reviewing replies re appellate sur-reply (.1).                 0.10            $67.50
4/4/16           BPG       Confer D. Lowenthal re: open issues, arrange             2.90        $2,146.00
                           CourtCall for oral argument, follow-up C. Dent
                           re: same (.2); working on response to LSI (1.1);
                           reviewing revised term sheets, confer D.
                           Lowenthal re: same and C. Dent re: same (1.6).
4/4/16           CWD Reviewing docket (.1); reviewing revised term                  0.60          $405.00
                       sheet re settlement, OC B. Guiney re same (.5).
4/4/16           DAL Review revised Term Sheet (.2); emails to S.                   3.60        $3,492.00
                       Miller re Court hearing and follow-up in
                       preparation (1.0); travel to Delaware for appeal
                       argument (2.4).
4/5/16           BPG       Monitor oral argument appeal, follow-up re:              3.40        $2,516.00
                           same (3.4).
4/5/16           CWD Appellate argument re allocation appeals (for                  2.60        $1,755.00
                      part), OC D. Lowenthal and B. Guiney re same
                      (2.5); reviewing docket (.1).
4/5/16           DAL Meeting in Delaware with S. Miller, attend                     8.70        $8,439.00
                       appeal argument before J. Stark and related
                       follow-up, and travel to NYC (8.7).




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4/6/16         BPG   Follow-up D. Lowenthal re: oral argument,           0.70      $518.00
                     confer same re: LSI motion, follow-up (.2);
                     review e-mail from M. Fagen, including
                     attachments, monitor response to LSI, follow-
                     up re: same (.5).
4/6/16         CWD   Reviewing docket, e-mail to managing clerk re       0.10       $67.50
                     hearing calendar (.1).
4/7/16         BPG   Prepare for and participate on Committee call,      1.10      $814.00
                     follow-up D. Lowenthal re: same, update C.
                     Dent re: same (1.1).
4/7/16         CWD   Reviewing docket (.1); Committee call (for          0.60      $405.00
                     part) (.5).
4/7/16         DAL   Weekly call (1.2); draft response to LS motion      1.90    $1,843.00
                     (.7).
4/8/16         BPG   Attention to e-mails re: LSI, confer D.             0.20      $148.00
                     Lowenthal re: same (.2).
4/8/16         CWD   E-mails re LSI motion (.1).                         0.10       $67.50
4/8/16         DAL   Work on response to LS motion and emails            1.30    $1,261.00
                     with M. Fagen, B. Guiney and J. Heaney re
                     same (1.3).
4/11/16        BPG   Review SNMP materials filed in Canada (.4);         0.50      $370.00
                     review docket (.1).
4/11/16        CWD   E-mails re SNMP (.1); reviewing mark-ups of         0.20      $135.00
                     settlement term sheet (.1).
4/12/16        BPG   Review e-mail from M. Fagen and attachments,        1.50    $1,110.00
                     consider same and follow-up (.6); tc D.
                     Lowenthal re: same and consider next steps
                     (.7); follow-up C. Dent re: same (.2).
4/12/16        CWD   TC B. Guiney re revised settlement term sheet       0.30      $202.50
                     (.3).
4/12/16        DAL   Review updated term sheets (.1).                    0.10       $97.00
4/13/16        BPG   Confer D. Lowenthal re: meeting, review             2.20    $1,628.00
                     materials for same, follow-up re: same, review
                     EMEA brief (1.0); participate on weekly call
                     and follow-up (1.2).




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4/13/16        CWD Reviewing EMEA SNMP response (.1);                       1.50      $1,012.50
                    preparing for and participating in Committee
                    call, including reviewing BRG recovery deck
                    (1.4).
4/13/16        DAL Tc with J. Heaney re Committee issues (.2);             2.10       $2,037.00
                     review BRG deck (.5); update from B. Guiney
                     (.7); review RoR re LS motion and notice of
                     adjournment (.3); review EMEA pleading re
                     SNMP (.4).
4/14/16        BPG Review Akin and BRG comments to term                     0.40        $296.00
                     sheet, consider same and follow-up (.4).
4/14/16        CWD Reviewing docket (.2).                                  0.20         $135.00
4/15/16        CWD Reviewing docket and agenda for 4/19 hearing            0.10          $67.50
                    (.1).
4/18/16        BPG OC D. Lowenthal re: open issues, review                 1.10         $814.00
                     docket, consider changes to LSI pleading and
                     follow-up, consider funding issue.
4/18/16        DAL Emails with S. Miller re Court hearing and              2.90       $2,813.00
                     related Tc (.3); Court hearing (1.7); outline and
                     start drafting memo to update to J. Heaney re
                     same (.9).
4/1 9/16       BPG Prepare for and monitor Bankruptcy Court                1.60       $1,184.00
                      hearing, confer D. Lowenthal re: same and
                      follow-up re: same (1.6).
4/19/16        CWD Reviewing docket, e-mails re LSI motion (.1).           0.10          $67.50
4/19/16        DAL Review hearing agenda and filings re April 19           1.80       $1,746.00
                     hearing (1.1); work on fee statement (.5); conf
                     L. Schweitzer re settlement and issues related
                     to NNCC (.2).
4/20/16        BPG Review e-mail from D. Lowenthal re: case                0.60         $444.00
                     status, follow-up re: LSI motion; review
                     materials for weekly call.
4/20/16        DAL Memo to J. Heaney re Court hearing (1.5);               1.60       $1,552.00
                    review revised Term Sheet (.1).
4/21/16        BPG     Prepare for and participate on weekly call;         1.50       $1,110.00
                       review docket, follow-up re: same.




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4/21/16        CWD   Reviewing revised settlement term sheet (.1);        1.00        $675.00
                     Committee call, OC D. Lowenthal and B.
                     Guiney re same (.9).
4/21/16        DAL   Weekly call and follow-up and memo to J.             2.20      $2,134.00
                     Heaney re discussion with L. Schweitzer about
                     settlement (2.2).
4/22/16        DAL   Review draft Term Sheet (1.0).                      1.00         $970.00
4/25/16        BPG   Attention to docket, reviewing recent fee           0.60         $444.00
                     applications.
4/26/16        BPG   Review LSI supplement (.3), tc D. Lowenthal         4.40       $3,256.00
                     re: same (.4), work on response to same (2.6);
                     attention to Canadian allocation order and e-
                     mails pertaining to same (.5); tc D. Lowenthal
                     re: settlement issues and review e-mails
                     pertaining to same (.5); additional tc same re:
                     same (.1).
4/26/16        CWD   Reviewing docket, e-mails re LSI response, TC       0.10          $67.50
                     B. Guiney re same (.1).
4/26/16        DAL   Review LS supplement to motion; analyze             5.70       $5,529.00
                     same with B. Guiney; review Monitor's and
                     EMEA statement in response to original motion
                     (2.7); review update from Canadian UCC
                     counsel and Canadian Order and Judgment
                     (1.1); email Akin re update; Tc with F. Hodara
                     re same; Tc with B. Guiney re same; draft
                     email to J. Heaney (2.0).
4/27/16        DAL   Memo to J. Heaney re update (.3); Tc with J.        0.60         $582.00
                     Tecce re status (.3).
4/28/16        BPG   Review materials for committee call (.4);           1.50       $1,110.00
                     participate on same and follow-up (.8);
                     attention to e-mail from F. Hodara (.2); confer
                     D. Lowenthal re: same (.1).
4/28/16        DAL   Weekly call (.7).                                   0.70         $679.00




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                                                    Total Services       66.30      $56,434.00


                Daniel A Lowenthal        34.20 hours at $970.00 $33,174.00
                Brian P. Guiney           24.50 hours at $740.00 $18,130.00
                Craig W. Dent              7.60 hours at $675.00 $5,130.00


                      Tvl - Meals                                           38.00
                      Tvl. Transportation/Lodging                          289.40

                                                    Total Expenses                    $327.40


                                                    Total This Invoice               A7SILAQ




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                             Patterson Belknap Webb & Tyler
               1133 Avenue of the Americas New York, NY 10036-6710 212.336_2000 fax 212.336.2222 www.pbwt.com




Law Debenture Trust Company of New York                                                Invoice No. 851734
400 Madison Avenue                                                                     June 27, 2016
New York, NY 10017                                                                     FEI No. XX-XXXXXXX

Re: NORTEL                                                                             L0353-000007


                             CONFIDENTIAL ATTORNEY WORK PRODUCT

                         For Professional Services Rendered For The Period Ending
                             May 31, 2016 In Connection With The Following:

5/3/16       BPG    Review opinion on EMEA claims, follow-up                            0.90             $666.00
                    re: same (.3); review docket (.1); review
                    decision on leave to appeal in Canada, follow-
                    up re: same (.5).
5/3/16       CWD    E-mails re Canadian appellate decision,                             0.20             $135.00
                    reviewing same (.2).
5/3/16       DAL    Review opinion dismissing Debtors' claims                           1.30           $1,261.00
                    against EMEA re SNMP (.6); initial review
                    Court of Appeal decision in Canada and emails
                    with S. Miller and E. Lamek re same (.7).
5/4/16       BPG    Review docket and consider order from District                     0.60              $444.00
                    Court, e-mails re: same (.1); tc D. Lowenthal
                    re: same (.5).
5/4/16       CWD    Reviewing docket (.1).                                             0.10               $67.50
5/4/16       DAL    Tc B. Guiney re J. Stark request for letter.                       0.50              $485.00
5/5/16       BPG    Review materials for weekly call, confer C.                        2.70           $1,998.00
                    Dent re: same (.3); review previous decision on
                    certification (.2); participate on weekly call and
                    follow-up re: same (1.2); reviewing materials
                    on trustee authority to settle (1.0).
5/5/16       CWD    Reviewing docket (.1); OC B. Guiney re                             1.20              $810.00
                    District Court oral order (.2); Committee call,
                    OC B. Guiney re intra-estate settlement
                    discussions (.9).
5/5/16       DAL    Review update on J. Stark request (.1); review                     1.60           $1,552.00
                    Canadian decision denying leave to appeal
                    (1.5).




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5/6/16        BPG   Tc D. Lowenthal and C. Dent re: UCC call (.5).         0.50        $370.00
5/6/16        CWD   TC D. Lowenthal and B. Guiney re settlement            0.50        $337.50
                    and related issues (.5).
5/6/16        DAL   Update on case issues from B. Guiney and C.            0.70        $679.00
                    Dent (.5); review information received from
                    Committee counsel re next steps (.2).
5/8/16        BPG   Review revised term sheet and e-mails re: same         1.30        $962.00
                    (.5); review draft letters to District Court (.8).
5/9/16        BPG   Confer D. Lowenthal re: letters to District            2.00      $1,480.00
                    Court (.1); participate on UCC call and follow-
                    up D. Lowenthal re: same (.6); attention to e-
                    mails and review docket (.3); review
                    submissions to J. Stark, attention to e-mail from
                    R. Johnson re: developments and follow-up
                    (1.0).
5/9/16        CWD   Reviewing draft letters re appeal certification        0.10         $67.50
                    (.1).
5/9/16        DAL   Review Akin, Cleary, and Milbank draft letters         2.50      $2,425.00
                    to J. Stark; emails with R. Johnson re same; Tc
                    with J. Tecce re same; email J. Heaney re same;
                    Tc with Akin re same re draft letters to J. Stark;
                    follow-up with B. Guiney; review multiple
                    letters to J. Stark from appellants and appellees
                    regarding certification to the Third Circuit.
5/10/16       BPG   Finish reviewing submissions to J. Stark (.6).         0.60        $444.00
5/10/16       DAL   Review Letters to J. Stark (.1).                       0.10         $97.00
5/11/16       BPG   Confer D. Lowenthal re: LSI Motion, follow-           0.70         $518.00
                    up e-mails re: same, reviewing draft of
                    response.
5/11/16       DAL   Emails with Akin and J. Heaney re LSI motion          0.40         $388.00
                    (.2); work on LSI response (.2).




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                                                                         L0353-000007




5/12/16      BPG     Prepare for and participate on call (.7); update     1.80      $1,332.00
                     D. Lowenthal re: same (.2); attention to e-mails
                     re: LSI (.1); review draft from Quinn, follow-
                     up re: same (.3); revise Law Debenture draft
                     and follow-up re: same (.3); circulate to S.
                     Miller, J. Heaney, and J. Tecce (.2).
5/12/16      DAL     Update re LSI (.3); email J. Tecce and D.           0.60         $582.00
                     Holzman re same (.3).
5/13/16      BPG     Review revised objection from S. Miller (.2);       0.60         $444.00
                     follow-up re: same (.1); confer D. Lowenthal
                     and finalize filing (.3).
5/13/16      DAL     Emails with J. Tecce re filing due today,           1.80       $1,746.00
                     review, revise, finalize filing, and email S.
                     Miller re same (.6); update with B. Guiney (.2);
                     review other responses to LS motion (1.0).
5/16/16      BPG     Confer D. Lowenthal re: status (.1); review and     0.70         $518.00
                     consider Akin's draft response to LSI (.6).
5/16/16      CWD Reviewing docket (.1).                                  0.10          $67.50
5/17/16      BPG     Attention to LSI response, confer D. Lowenthal      2.30       $1,702.00
                     re: same; revise same, follow-up C. Dent re:
                     same, attention to e-mails re: same (1.9);
                     review decision on certification and confer D.
                     Lowenthal re: same (.4).
5/17/16      CWD E-mails re Committee objection to LSI motion,           0.60         $405.00
                   TC B. Guiney re same (.2); reviewing opinion
                   certifying appeals to Third Circuit, OC D.
                   Lowenthal re same (.4).
5/17/16      DAL Review Akin draft response to LS motion;                3.80       $3,686.00
                   analyze same with B. Guiney; make
                   recommendations to J. Heaney re revisions;
                   revise draft; detailed vmail to F. Hodara; email
                   revised response and key changes to Akin;
                   review J. Stark decision certifying appeals to
                   the Third Circuit; email same to J. Heaney;
                   email same to J. Tecce and D. Holzman.
5/18/16      CWD E-mails re meet and confer, TC D. Lowenthal             0.10          $67.50
                   re same (.1).




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5/18/16        DAL   Emails with J. Heaney and F. Godino, and                0.10         $97.00
                     follow-up email with Akin.
5/19/16        BPG   Review materials for UCC call (.5); attention to        1.00        $740.00
                     multiple e-mails re: meet and confer, order to
                     Third Circuit (.2); confer D. Lowenthal and C.
                     Dent re: meeting (.2); review proposed Third
                     Circuit order and follow-up (.1).
5/19/16        CWD   Participating in meet and confer re appellate           1.20        $810.00
                     order (.2); Committee call (.9); reviewing
                     docket (.1).
5/19/16        DAL   Weekly call (1.00); follow-up (.2).                    1.20       $1,164.00
5/20/16        BPG   Attention to e-mails and follow-up re: status          0.30         $222.00
                     (.3).
5/20/16        CWD   Reviewing docket, e-mails re appellate                 0.10          $67.50
                     certification order (.1).
5/20/16        DAL   Emails re certification of appeal, review J.           1.60       $1,552.00
                     Stark certification, and emails with E. Lamek re
                     same (1.3); emails with D. Botter re mediation
                     (.3)
5/23/16        CWD   Reviewing docket (.1).                                 0.10          $67.50
5/24/16        BPG   Attention to docket, recent e-mails (.2).              0.20         $148.00
5/25/16        DAL   Tc F. Hodara re mediation status; email re same        0.70         $679.00
                     (.4); review draft term sheet and email Akin
                     (.3).
5/26/16        BPG   Review term sheet, review materials for weekly         3.10       $2,294.00
                     call (1.4); participate on same and follow-up
                     (.9); reviewing keepwell research, follow-up re:
                     same (.8).
5/26/16        DAL   Review term sheets; weekly call; follow-up             1.40       $1,358.00
                     with B. Guiney re mediation.
5/27/16        BPG   Follow-up re: keepwell research; e-mails with          0.30        $222.00
                     D. Lowenthal and T. Maduro re: same (.3).
5/27/16        CWD   E-mails re settlement term sheets and LSI              0.10          $67.50
                     motion (.1).
5/27/16        DAL   Review teiiii sheets re mediation (.4).                0.40        $388.00




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5/31/16       BPG    Follow-up re: keepwell issues and confer D.          1.80      $1,332.00
                     Lowenthal re: mediation, attention to e-mails;
                     review revised term sheet and other materials
                     from B. Kahn, follow-up re: same.
5/31/16       DAL Emails with Akin and J. Heaney re mediation;            0.50        $485.00
                    review updated Term Sheet (.5).


                                                   Total Services        45.00     $37,430.00


               Daniel A Lowenthal         19.20   hours at    $970.00 $18,624.00
               Brian P. Guiney            21.40   hours at    $740.00 $15,836.00
               Craig W. Dent               4.40   hours at    $675.00 $2,970.00


                                                   Total Expenses                       $0.00


                                                   Total This Invoice              $37,430.00




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